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                        UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

UNITED STATES OF AMERICA

-vs-                                            Case No. 2:17-CR-73 (02)

Henry Gerard James Hill, Jr.,
________________________________

                         REPORT AND RECOMMENDATION
                         CONCERNING PLEA OF GUILTY
       The Defendant, by consent, has appeared before me pursuant to
Rule 11, F.R.Cr.P. and has entered a plea of guilty to Count one (1)
of the Indictment.    After examining the Defendant under oath
concerning each of the subjects mentioned in Rule 11, I determine that
the defendant is competent and capable of entering an informed plea,
that the guilty plea is knowingly and voluntarily made and that the
offenses charged are supported by an independent basis in fact
containing each of the essential elements of such offense.
       The plea agreement contains an agreed sentence and it is up to
the District Judge to determine if that part of the agreement is
appropriate. If the District Judge does so determine, I RECOMMEND the
plea agreement and the plea of guilty should be accepted and the
Defendant should be adjudged guilty and sentenced accordingly.
Otherwise, the plea agreement should be rejected and the defendant
should be allowed to with draw the guilty plea.
     The Defendant remains in the custody of the U.S. Marshal pending
sentencing.

Date: June 1, 2017                          /s/ Terence P. Kemp
                                           UNITED STATES MAGISTRATE JUDGE


                                    NOTICE

     Failure to file written objections to this Report and
Recommendation within fourteen (14) days from the date of its service
shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28
U.S.C. Section 636(b)(1)(B).
